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                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF LOUISIANA
                              BATON ROUGE DIVISION

CHRISTOPHER DWYER AND
ALICIA DWYER INDIVIDUALLY AND                  *       DOCKET NO. 3:22-cv-552
ON BEHALF OF THEIR MINOR
CHILDREN E.D. AND L.D.

VERSUS
                                               *       JUDGE
SENTRY SELECT INSURANCE
COMPANY, BUCKLEY TRANSPORT,
INC., AARON CLAYTON AND
STATE FARM MUTUAL
AUTOMOBILE INSURANCE COMPANY                       *   MAGISTRATE


  DEFENDANTS’ JOINT NOTICE OF AND CONSENT FOR REMOVAL OF ACTION



TO:    THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT COURT
       FOR THE MIDDLE DISTRICT OF LOUISIANA, BATON ROUGE DIVISION:

       Defendants,     SENTRY       SELECT         INSURANCE      COMPANY,        BUCKLEY

TRANSPORT, INC., AARON CLAYTON AND STATE FARM MUTUAL AUTOMOBILE

INSURANCE COMPANY, appearing herein through undersigned counsel, with full

reservation of all defenses, objections, and rights, respectfully represent the following:

                                             1.

       On June 30, 2022, a Petition for Damages as a result of a July 24, 2021 motor

vehicle accident was filed by Christopher Dwyer, and Alicia Dwyer individually and on

behalf of their minor children, “E.D.” and “L. D.” in the 19th Judicial District Court for the

Parish of East Baton Rouge, bearing Docket No. C720741, Sec. 21. A copy of the Petition

for Damages filed with the 19th Judicial District Court is attached to the Notice of Filing

and Certificate of Removing Defendants as “Exhibit 1”.

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                                FEDERAL JURISDICTION

                         Removal Pursuant to 28 U.S.C. §1332

                                             2.

       This civil action is a matter over which this Court has original jurisdiction by virtue

of Diversity of Citizenship (28 USC §1332) and is one which may be removed to this Court

under the provisions of 28 USC §1441 et seq., in that it is a civil action wherein diversity

of citizenship exists between the plaintiffs and all defendants, with the requisite amount

in controversy being present for the claims of Alicia Dwyer, at a minimum, with this Court

having supplemental jurisdiction      pursuant to 28 U.S.C. 1367 over the claims of

Christopher Dwyer individually and Christopher Dwyer and Alicia Dwyer on behalf of the

minor children, E.D. and L.D as the claims of Christopher Dwyer, E.D. and L.D. are so

related to the claims of Alicia Dwyer that they form part of the same case or controversy.


                      Complete Diversity Exists as to All Parties

                                             3.

       The Petition for Damages reflects that the Plaintiffs are citizens of the State of

Louisiana. On information and belief, the plaintiffs are domiciled in West Feliciana Parish.

                                             4.

       Defendant Buckley Transport, Inc is a corporation organized under the laws of the

State of Mississippi and which maintains its principal place of business in the State of

Mississippi. The state court suit was mailed on July 6, 2022 to Buckley Transport, Inc. via

the Louisiana Long-arm statute, La. R. S. 13:3201 et. seq., and was accepted on July 12,

2022. The state court record does contain a July 18, 2022 Affidavit of Service filed in the

state court suit record indicating service upon Buckley Transport, Inc.


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                                              5.

       Defendant Aaron Clayton a citizen and resident of the State of Mississippi. Mr.

Clayton has resided in Mississippi for many years and intends to remain as a citizen of

that state. The state court suit was mailed to Mr. Clayton on July 6, 2022 via the Louisiana

Long-arm statute, La. R. S. 13:3201 et. seq., and was accepted by Mr. Clayton on July 9,

2022. The state court record does contain a July 18, 2022, An Affidavit of Service filed in

the suit record indicating service was made upon him.

                                              6.

       Defendant Sentry Select Insurance Company is a corporate entity of the State of

Wisconsin, where it is both incorporated and maintains its principal place of business.

Sentry was served with the state court Petition through the Louisiana Secretary of State’s

office on July 6, 2022.

                                              7.

       Defendant State Farm Mutual Automobile Insurance Company is a corporate entity

of the State of Illinois with its principal place of business located in Bloomington, Illinois.

State Farm was served with the state court Petition through the Louisiana Secretary of

State’s office on July18, 2022. State Farm joins in the Removal of this action.

                 The Requisite Amount in Controversy Is Established

                                              8.

       Upon information and belief, and without making any stipulation as to the amount

of any provable damages, these defendants aver that the “amount in controversy” in this

dispute is in excess of $75,000.00 for the claims of Ms. Alicia Dwyer, at a minimum.




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                                             9.

       The amount in controversy for the claims of Christopher Dwyer and for each of the

minor children, E.D. and L.D. are unknown, due to lack of medical information, but this

Court has supplemental jurisdiction over those additional claims since those claims arise

out of the same occurrence as that of Ms. Dwyer.

                                            10.

       The Petition for Damages did not contain sufficient information to trigger the

running of a removal deadline. Regarding Ms. Alicia Dwyer, the Petition contained only

general allegations of injury and related pain, suffering, etc…but without specifying either

the particular areas of her body allegedly injured in the accident or the particular medical

treatment she has thus far undergone. The Petition for Damages itself did not, therefore

set forth sufficient information upon with removal could be premised. Please see the state

court Petition for Damages submitted herewith.

                                            11.

       Further, the Petition for Damages did not allege either the presence or lack of

amount in controversy, as is specifically provided for in Article 893A(1) of the Louisiana

Code of Civil Procedure. Gebbia v. Wal-Mart Stores, Inc., 233 F.3d 880 (5th Cir. 2000)

(citing Louisiana Code of Civil Procedure article 893, which requires a plaintiff to allege

“the lack of jurisdiction of federal courts due to insufficiency of damages.”

       The United States Court of Appeals for the Fifth Circuit has held that "[w]hen the

plaintiff's complaint does not allege a specific amount of damages, the removing

defendant must prove by a preponderance of the evidence that the amount in controversy

exceeds" the jurisdictional amount. Garcia v. Koch Oil Co. of Texas Inc., 351 F.3d 636,



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638-39 (5th Cir. 2003) (citing De Aguilar v. Boeing Co., 11 F.3d 55, 58 (5th Cir. 1993).

This burden may be fulfilled in two ways. First, jurisdiction is proper if "it is facially

apparent" from the plaintiff's complaint that her "claims are likely above [$75,000]." Allen

v. R & H Oil and Gas, 63 F.3d 1326, 1335. Second, if the value of the claims is not

apparent, the defendant "may support federal jurisdiction by setting forth the facts—

[either] in the removal petition [or] by affidavit—that support a finding of the requisite

amount." Id.

                                            12.

       As a professional courtesy so that the defense could assess the potential value of

Ms. Dwyer’s claim, Plaintiffs’ attorney forwarded medical records for Ms. Alicia Dwyer on

July 14, 2022. (See forwarding email attached as Exhibit 2). No medical information on

the other plaintiffs/claimants has yet been submitted. The medical records provided on

Ms. Alicia Dwyer were from Family & Sports Chiropractic of St. Francisville (Exhibit 3),

LabCorp (Exhibit 4), Pelvic Rehabilitation Medicine (Exhibit 5) and the Baton Rouge Clinic

(Exhibit 6). None of this information had been submitted to any of the defendants prior to

July 14, 2022.

       Upon receipt of the medical records for Ms. Dwyer, the defense was for the first

time made aware of particular medical information regarding Ms. Dwyer which does

reveal an “amount in controversy” in excess of $75,000.00. As set forth in greater detail

below the defense herein is accordingly “setting forth facts in controversy” to support a

finding of the requisite jurisdictional amount. Drill Cuttings Disposal Co. L.L.C. v.

Chesapeake Operating, Inc., 2012 WL 399247, at *1 (W.D. La. Feb. 7, 2012) citing

Luckett v. Delta Airlines, Inc., 171 F.3d 295, 298 (5th Cir.1999). While the Defendants



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herein do not concede any facts pertaining to the nature, extent and causation of injuries,

the medical records supplied on July 14, 2022, revealed the following information upon

which the claims of Alicia Dwyer are based:

      In short, Ms. Alicia Dwyer contends that the subject accident of July 24, 2021 has

caused her to sustain an injury to her pelvic area which has produced incontinence and

pain which her physicians describe as “Neuropathic pain and Myofascial Pain Syndrome”.

Ms. Dwyer has been described as a: “Patient with both Central Sensitization and

Peripheral Sensitization leading to membrane hyperexcitability and upregulation of both

the Central Nervous System and Peripheral Nervous System with a sympathetic

component to pain.” Her medical records make reference to a “Left posterior femoral

cutaneous nerve block under ultrasound guidance”; a "left pudendal nerve block under

ultrasound guidance” and “Left puborectalis Trigger Point Injection under the ultrasound

guidance” (although it is unclear from the medical records as to whether she has had

these procedures vs these being recommended). In addition, to these pelvic area

complaints, Ms. Dwyer has also voiced complaints of hip pain, neck pain, and back pain,

which continue to the present time.

      To further synopsize the information contained in the medical records, Ms. Dwyer

started a four-month course of physical therapy on July 27, 2021 due to having urinary

incontinence and severe abdominal and pelvic pain that was preventing her from daily

functions and work. She presented with pelvic malalignment with the “right innominate

downslip”. Her healthcare providers suggest that this sudden change in pelvic alignment

has caused several muscle spasms and other muscles to be inhibited, and that this has




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resulted in severe abdominal and pelvic pain. She also had signs of right shoulder and

neck dysfunction.

       On August 16, 2021, Ms. Dwyer was then evaluated at the Baton Rouge

Orthopedic Clinic due to complaints of neck and radiating right arm pain and lower back

and radiating right leg pain that has been ongoing since the accident on July 24, 2021.

       An August 24, 2021 cervical MRI revealed disc bulge at the C6-C7 level. A lumbar

MRI revealed “desiccation disc with a small central disc protrusion at the L4-L5 level. No

evidence of nerve root impingement. Mild degenerative changes of the L4-L5 disc”.

       On October 28, 2021, Ms. Dwyer was evaluated at the Baton Rouge Orthopedic

Clinic due to her continuing complaints of abdominal pain, groin pain, buttock pain and

right lower extremity pain. The assessment was “Neuropathic pain; Myalgia; Sacroilitis”.

       On November 12, 2021, Ms. Dwyer presented at The NeuroMedical Center Clinic

for evaluation of pain and numbness. The assessment was thoracic pain.

       An MRI of her brain was ordered on November 23, 2021. The MRI was conducted

on December 12, 2021, and showed “Single punctate chronic white matter T2

hyperintensity right frontal lobe likely a small foci of gliosis”.

       Ms. Dwyer has also had a subsequent motor vehicle accident on December 2,

2021. The precise effect of this accident is yet to be determined.

       Due to her continued pelvic pain problem, Ms. Dwyer was evaluated on March 16,

2022, at the Louisiana Urology Clinic. The assessment was: “Assessment: (1) Urge

incontinence. (2) Pelvic and perineal pain. (3) Urgency of urination. (4) Frequency of

micturition. (5) Pelvic muscle wasting. (6) Female sexual arousal disorder”.




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       Due to her ongoing and continuing pelvic problem a MRI of her pelvis was ordered

on May 3, 2022.

       On May 5, 2022, she was evaluated at the Pelvic Rehabilitation Medicine. The

assessment was “Assessment: (1) Other chronic pain. (2) Myalgia, unspecified site.

Pelvic pain likely secondary to Neuropathic pain and Myofascial Pain Syndrome. Patient

with both Central Sensitization and Peripheral Sensitization leading to membrane

hyperexcitability and upregulation of both the Central Nervous System and Peripheral

Nervous System with a sympathetic component to pain. As part of a comprehensive

outpatient pain treatment program, she may benefit from a series of peripheral nerve

blocks and trigger point injections to the pelvic floor to treat neuropathic pain and

myofascial pain syndrome.”

       The Pelvic Rehabilitation notes of May 13, 2022 indicate “Complains of chronic

pelvic pain. Pain is localized to the lower abdomen, pelvis, lumbosacral back, or buttocks.

Pain is of sufficient severity to cause functional disability. Continues to have pain despite

conservative treatment. Nerve blocks were recommended including a nerve block to her

right pudendal nerve”.

       The May 27, 2022, note from Pelvic Rehabilitation states that Ms. Dwyer may

benefit from a series of peripheral nerve blocks and trigger point injections to the pelvic

floor to treat neuropathic pain and myofascial pain syndrome.

       In short, since the July 24, 2021, motor vehicle accident, Ms. Dwyer has continued

to have back, neck and especially pelvic pain and neurogenic issues for which she has

received ongoing physical therapy, ongoing chiropractic treatments and numerous

evaluations from several medical care providers.



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      No information on medical bills has yet been submitted on either Ms. Alicia Dwyer

or any of the other plaintiffs. However, the medical records submitted show that Ms.

Dwyer has had the following number of medical visits.

      --Family & Sports Chiropractic of St. Francisville – 22 visits
      --Baton Rouge Orthopedic Clinic – 10 visits
      --The NeuroMedical Center Clinic – 6 visits
      --Pelvic Rehabilitation Medicine – 6 visits
      --Kali Pelvic Health & Physical Therapy Services – 5 visits
      --Louisiana Urology, LLC – 4 visits
      --Dr. Chaillie P. Daniel – 4 visits
      --Wendy A. Waguespack, O.D., Inc. – 1 visit
      --The Baton Rouge Clinic – 1 visit


      Undoubtedly, the cost of this total of 59 separate visits to healthcare providers will

be substantial. Similarly, no information on wage loss has been provided. Nonetheless,

we respectfully submit that the general damages component alone of this case would

exceed $75,000.00 should it ultimately be determined that the subject accident of July 24,

2021 has in fact caused Ms. Dwyer to sustain a pelvic injury which has produced

neurogenic symptoms of the type referenced more fully in her medical records attached

hereto and summarized above.

                                           13.

      Even without regard to the alleged pelvic injury and neuropathic symptoms, Courts

have awarded general damages to plaintiffs who had cervical and lumbar injuries, without

surgeries, several times the amount of incurred medical expenses. See Collier v.

Benedetto, 897 So.2d 775, 780 (La. App. 5th Cir. 2005) (adjusting award of general

damages from $50,000.00 to $75,000.00 where plaintiff in automobile accident, who

declined surgery, “sustained injuries to his back, neck, knee, thigh and shoulder, a small

right disc protrusion at C5–C6, and cervical and lumbar muscle strains” and was awarded


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just $5,718.75 in medical expenses); Perez v. State ex rel. Crescent City Connection, Div.

of Dep't of Transp. & Dev., 753 So.2d 913, 914–15 (La. App. 4th Cir. 2000) (affirming

award of $150,000.00 in general damages where plaintiff was not recommended for, and

did not have, surgery for bulging cervical, thoracic, and lumbar strains and bulging discs,

as well as post-traumatic headaches, and incurred past medical expenses of just over

$27,000.00); Wehbe v. Waguespack, 720 So.2d 1267, 1270–72 (La. App. 5th Cir.1998)

(affirming award of “$185,000.00 for general damages for a herniated C3–4 disc without

surgery and aggravation of pre-existing degenerative lumbar spine disease without any

disc herniation” where plaintiff incurred past medical expenses of $6,590.00).

                                             14.

       Therefore, upon information and belief, and without making any stipulation as to

the nature, extent, quantum or causation of any provable damages, these defendants

aver that the “amount in controversy” in this dispute is in excess of $75,000.00 for Alicia

Dwyer based upon the medical evidence first supplied to the Defendants on July 14, 2022.

                                           Venue

                                             15.

       Plaintiffs filed this lawsuit in the 19th Judicial District Court for the Parish of East

Baton Rouge. Thus, venue in this District is proper under 28 U.S.C. §1441(a), as it is the

“District Court of the United States for the district and division embracing the place” where

the original lawsuit is pending.




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                            Removal of This Matter is Timely

                                             16.

       It was not facially apparent from the Dwyer Petition that the amount in controversy

exceeded the $75,000.00 threshold for this Court’s diversity jurisdiction. It was only upon

receiving the medical records for Ms. Dwyer on July 14, 2022, including the medical

records described in detail above, that defendants were able to ascertain that the amount

in controversy in this matter exceeds the $75,000.00 threshold for diversity jurisdiction.

                                             17.

       Applicable jurisprudence makes it clear that a Defendant is not required to remove

the case within 30 days of receipt of the suit when the petition fails to “affirmatively reveal

on its face” that Plaintiff is seeking damages in excess of the minimum jurisdictional

amount. Chapman v. Powermatic, Inc., 969 F.2d 160, 163 (5th Cir.1992) (“the thirty day

time period in which a defendant must remove a case starts to run from defendant's

receipt of the initial pleading only when that pleading affirmatively reveals on its face that

the plaintiff is seeking damages in excess of the minimum jurisdictional amount of the

federal court.”). Plaintiff's action may become removable during its first year if Defendant

receives “a copy of an amended pleading, motion, order or other paper from which it may

first be ascertained that” federal jurisdiction exists”. 28 U.S.C. § 1446(b)(3).

       In the context of “other paper,” the Fifth Circuit has generally held that a case

becomes removable when a “voluntary act” of the plaintiff makes it ascertainable for the

first time that the federal jurisdiction exists. S.W.S. Erectors, Inc., 72 F.3d at 494 (citing

Gaitor v. Peninsular & Occidental Steamship Co., 287 F.2d 252, 254 (5th Cir.1961) (non-

removable case “cannot be converted into a removable one by evidence of the defendant



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or by an order of the court ..., but that such conversion can only be accomplished by the

voluntary [act of] the plaintiff”).

       The instant matter is squarely on point with Williams v. Brand Energy &

Infrastructure Services, Inc., CV 16-00120-SDD-EWD, 2016 WL 3977259, at *3 (M.D. La.

June 9, 2016), where the Court held: “ Accordingly, the 30-day period for removing the

action was not triggered by service of the Petition, but rather by receipt of Williams'

response to a Request for Production, indicating his damages “far exceed $75,000.” As

defendants removed this action less than 30 days after receiving plaintiff's medical

records on July 14, 2022, removal is timely under 28 U.S.C. § 1446(b)(3).

                                           18.

       This removal is also being sought within 30 days of the July 18, 2022 service upon

the co-defendant State Farm.

       WHEREFORE, defendants do hereby remove the above captioned case to the

United States District Court for the Middle District of Louisiana, Baton Rouge Division.




                         [SIGNATURE BLOCKS ON FOLLOWING PAGE]




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                             Respectfully submitted:

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                             COMPANY




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                               CERTIFICATE OF SERVICE

       I hereby certify that on August 12, 2022, a copy of the foregoing was filed

electronically with the Clerk of Court using the CM/ECF system. Notice of this filing will

be sent to plaintiff’s counsel by operation of the Court’s electronic filing system.

       Lafayette, Louisiana on this 12th day of August 2022.

                                   s/ Steven B. Rabalais
                                 STEVEN B. RABALAIS




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